(1 of 20), Page 1 of 20       Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 1 of 20
                      Case 1:22-cr-00425-VEC Document 139 Filed 04/11/24 Page 1 of 1




                                                                   NOTICE OF APPEAL

                                                                United States District Court

                                                   _Southern __ District or _New York
      S.O.N Y.-APPEALS                                                                                                ORIGINAL
                   __________
               United States of America ,.

             ~endu Alisigwe
                                                                                                   Docket No., S 1 22 Cr. 425
                                                                                                                                   =-----
                                                                                                              Judge Valerie E. Caproni
                                                                                                                      (District Court Judge)
            Notice is hereby given that the defendant Chinwendu Alisigwe appeals to the United States Court ot
            Appeals for the Second Circuit from the judgment 1 ✓ other 1.

            entered in this ac!Jon on April 8, 2024                                                            (specify)
                                               (dale)



            This appeal concerns: Conviction only L..J Sentence only LJ
                                                                                            Conviction & Sentence I ✓ Other L_
            Defendant found guilty by plea I       • I trial I ✓ I NIA I

            Offense occurred after November 1, 1987? . Yes I ✓ 1 No [                      NIA [
            Date of sentence: April 8, 2024                                NIA L_J
                               ~---------
            Bail/Jail Disposition: Committed I /        Not committed I            NIA I




            Appellant is represented by counse I?. yes ✓ I No I               .: If yes, provide the following information:


            Defendant's Counsel:        Barry D. Leiwant, Esq.

            Counsel"s Address:           Federal Defenders of New York

                                         52 Duane Street, 10th Floor, NY, NY 10oo7

            Counsel's Phone:             (212) 417-8763


            Assistant U.S. Attorney:     Meredith Foster, Esq.

            AUSA's Address:
                                         26 Federal Plaza

                                         New York, NY 10278

                                         (212) 637-2310
            AUSA's Phone:

                                                                                             µctJ~
                                                                                             ARIEL WERNER, ESQ.
                                                                                                          Signature
(2 of 20), Page 2 of 20        Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 2 of 20

                                                                                  CLOSED,APPEAL,ECF,PRIOR
                                          U.S. District Court
                             Southern District of New York (Foley Square)
                   CRIMINAL DOCKET FOR CASE #: 1:22−cr−00425−VEC All Defendants

              Case title: USA v. Alisigwe

              Magistrate judge case number: 1:22−mj−06067−UA

             Date Filed: 08/04/2022

             Date Terminated: 04/09/2024

              Assigned to: Judge Valerie E.
              Caproni

              Defendant (1)
              Chinwendu Alisigwe                  represented by Andrew Brian Stoll
              TERMINATED: 04/09/2024                             Stoll, Glickman & Bellina, LLP
              also known as                                      300 Cadman Plaza West, 12th Floor
              Sealed Defendant 1                                 Brooklyn, NY 11201
              TERMINATED: 04/09/2024                             718−852−3710
                                                                 Fax: 718−852−3586
                                                                 Email: astoll@stollglickman.com
                                                                 TERMINATED: 08/22/2023
                                                                 LEAD ATTORNEY
                                                                 Designation: Retained

                                                                Ariel Charlotte Werner
                                                                Federal Defenders of New York Inc. (NYC)
                                                                52 Duane Street
                                                                10th Floor
                                                                New York, NY 10007
                                                                (212) 417−8700
                                                                Email: ariel_werner@fd.org
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Public Defender or Community
                                                                Defender Appointment

                                                                Sylvie Jill Levine
                                                                Federal Defenders of New York
                                                                52 Duane Street, 10th Floor
                                                                New York, NY 10007
                                                                212−417−8700
                                                                Fax: 212−571−0392
                                                                Email: sylvie_levine@fd.org
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Public Defender or Community
                                                                Defender Appointment

              Pending Counts                                    Disposition
                                                                IMPRISONMENT: Five (5) years on Counts 1, 2,
              18:1349.F ATTEMPT AND                             and 4 to be served concurrently. SUPERVISED
              CONSPIRACY TO COMMIT                              RELEASE: Five (5) years on Counts 1 and 2,
              BANK FRAUD                                        Three(3) years on Count 4 to be served
              (1s)                                              concurrently. RESTITUTION: $499,949.88
              18:1344A.F BANK FRAUD                             IMPRISONMENT: Five (5) years on Counts 1, 2,
              (2s)                                              and 4 to be served concurrently. SUPERVISED
                                                                RELEASE: Five (5) years on Counts 1 and 2,
(3 of 20), Page 3 of 20       Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 3 of 20

                                                              Three(3) years on Count 4 to be served
                                                              concurrently. RESTITUTION: $499,949.88
              18:1028A.F FRAUD WITH
              IDENTIFICATION
              DOCUMENTS (AGGRAVATED
              IDENTITY THEFT)
              (3s)
                                                              IMPRISONMENT: Five (5) years on Counts 1, 2,
              18:1956−4999.F MONEY                            and 4 to be served concurrently. SUPERVISED
              LAUNDERING − FRAUD,                             RELEASE: Five (5) years on Counts 1 and 2,
              OTHER (CONSPIRACY)                              Three(3) years on Count 4 to be served
              (4s)                                            concurrently. RESTITUTION: $499,949.88

              Highest Offense Level (Opening)
              Felony

              Terminated Counts                               Disposition
              18:1349.F ATTEMPT AND
              CONSPIRACY TO COMMIT                            Dismissed
              BANK FRAUD
              (1)
              18:1344A.F BANK FRAUD                           Dismissed
              (2)
              18:1028A.F FRAUD WITH
              IDENTIFICATION
              DOCUMENTS (AGGRAVATED                           Dismissed
              IDENTITY THEFT)
              (3)

              Highest Offense Level
              (Terminated)
              Felony

              Complaints                                      Disposition
              18:1028A.F AGGRAVATED
              IDENTITY THEFT, 18:1349.F
              CONSPIRACY TO COMMIT
              BANK FRAUD, 18:1344A.F
              BANK FRAUD


              Plaintiff
              USA                                      represented by Jonathan Leavitt Bodansky
                                                                      United States Attorney's Office, SDNY
                                                                      One Saint Andrew's Plaza
                                                                      New York, NY 10007
                                                                      646−957−1800
                                                                      Email: jonathan.bodansky@usdoj.gov
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED
                                                                      Designation: Assistant US Attorney

                                                                      Adam Sloan Hobson
                                                                      United States Attorney's Office, SDNY
                                                                      One Saint Andrew's Plaza
                                                                      New York, NY 10007
                                                                      212−637−2484
(4 of 20), Page 4 of 20         Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 4 of 20

                                                                            Fax: 212−637−2527
                                                                            Email: Adam.Hobson@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED

                                                                            Elizabeth Anne Espinosa
                                                                            DOJ−USAO
                                                                            1 St. Andrew's Plaza
                                                                            New York, NY 10007
                                                                            212−637−2216
                                                                            Email: elizabeth.espinosa@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED

                                                                            Meredith Foster
                                                                            DOJ−USAO
                                                                            Southern District of New York
                                                                            One Saint Andrews Plaza
                                                                            New York
                                                                            New York, NY 10007
                                                                            212−637−2310
                                                                            Email: meredith.foster@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED

                                                                            William C. Kinder
                                                                            DOJ−USAO
                                                                            Southern District of New York
                                                                            One Saint Andrew's Plaza
                                                                            New York, NY 10007
                                                                            212−637−2394
                                                                            Email: william.kinder@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED

               Date Filed   #     Docket Text
               07/25/2022         SEALED ORAL ORDER as to Sealed Defendant 1. (Signed by Magistrate Judge
                                  Sarah Netburn on 7/25/2022)(dif) [1:22−mj−06067−UA] (Entered: 07/27/2022)
               07/25/2022   1 COMPLAINT as to Chinwendu Alisigwe (1). In Violation of 18 U.S.C. 1028A, 1349
                              and 2; 1344 (Signed by Magistrate Judge Sarah Netburn) (dif) [1:22−mj−06067−UA]
                              (Entered: 07/27/2022)
               07/26/2022         Arrest of Chinwendu Alisigwe. (dif) [1:22−mj−06067−UA] (Entered: 07/27/2022)
               07/26/2022   3 CJA 23 Financial Affidavit by Chinwendu Alisigwe. (Signed by Magistrate Judge
                              Sarah Netburn) (Federal Defender Ariel Werner Appointed) (dif)
                              [1:22−mj−06067−UA] (Entered: 07/27/2022)
               07/26/2022         Attorney update in case as to Chinwendu Alisigwe. Attorney Ariel Charlotte Werner
                                  for Chinwendu Alisigwe added.. (dif) [1:22−mj−06067−UA] (Entered: 07/27/2022)
               07/26/2022   4 Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Initial
                              Appearance as to Chinwendu Alisigwe held on 7/26/2022., Detention Hearing as to
                              Chinwendu Alisigwe held on 7/26/2022, Deft Appears with Federal Defender Ariel
                              Werner and AUSA Elizabeth Espinosa for the government. Detention; See Transcript;
                              ( Preliminary Hearing 8/9/2022 (dif) [1:22−mj−06067−UA] (Entered: 07/27/2022)
               08/04/2022   5 INDICTMENT FILED as to Chinwendu Alisigwe (1) count(s) 1, 2, 3. (jm) (Entered:
                              08/05/2022)
               08/04/2022         Case Designated ECF as to Chinwendu Alisigwe. (jm) (Entered: 08/05/2022)
               08/05/2022   6 ORDER as to Chinwendu Alisigwe. WHEREAS on August 4, 2022, an Indictment
                              was filed against Defendant Chinwendu Alisigwe, see Dkt. 5; WHEREAS Mr.
                              Alisigwe has already been presented before a Magistrate Judge, see Dkt. 4; and
                              WHEREAS this case has been assigned to the Undersigned; IT IS HEREBY
                              ORDERED that an arraignment in this matter is scheduled for Tuesday, August 9,
                              2022, at 10:30 a.m. The arraignment will be held in Courtroom 443 of the Thurgood
                              Marshall United States Courthouse, located at 40 Foley Square, New York, New York
(5 of 20), Page 5 of 20      Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 5 of 20

                                10007. SO ORDERED. ( Arraignment set for 8/9/2022 at 10:30 AM in Courtroom
                                443, 40 Centre Street, New York, NY 10007 before Judge Valerie E. Caproni.
                                )(Signed by Judge Valerie E. Caproni on 8/5/2022)(bw) (Entered: 08/05/2022)
               08/09/2022    7 RULE 5(F) ORDER as to Chinwendu Alisigwe. (Signed by Judge Valerie E. Caproni
                               on 8/9/2022) (ap) (Entered: 08/09/2022)
               08/09/2022    8 ORDER: as to Chinwendu Alisigwe. IT IS HEREBY ORDERED that the parties must
                               appear for a status conference on October 14, 2022 at 2:30 p.m. in Courtroom 443,
                               Thurgood Marshall U.S. Courthouse, 40 Foley Square, New York, NY 10007. IT IS
                               FURTHER ORDERED that time is excluded for the period between August 9, 2022,
                               and October 14, 2022 under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7) (A), as the
                               ends of justice served by taking such action outweigh the best interest of the public and
                               the Defendant in a speedy trial given the complexity of the case, the volume of
                               discovery, and the logistical difficulties that continue to be caused by COVID−19.
                               Time excluded from 8/9/2022 until 10/14/2022. (Status Conference set for 10/14/2022
                               at 02:30 PM in Courtroom 443, 40 Centre Street, New York, NY 10007 before Judge
                               Valerie E. Caproni) (Signed by Judge Valerie E. Caproni on 8/9/2022) (ap) (Entered:
                               08/09/2022)
               08/09/2022       Minute Entry for proceedings held before Judge Valerie E. Caproni: Arraignment as to
                                Chinwendu Alisigwe (1) Count 1,2,3 held on 8/9/2022. Plea entered by Chinwendu
                                Alisigwe Not Guilty. Defendant Chinwendu Alisigwe present with attorney Jonathan
                                Marvinny. AUSA Jonathan Bodansky present. Court Reporter Sara Beiter present.
                                Consistent with the requirements of Fed. R. Crim. P 5(f), in the presence of
                                Chinwendu Alisigwe, the AUSA was orally reminded of his obligations under the
                                Constitution to disclose exculpatory evidence to the defense. Defendant arraigned on
                                the Indictment and entered a plea of NOT GUILTY. Defendant remand continued.
                                (jbo) (Entered: 08/09/2022)
               08/18/2022    9 NOTICE OF ATTORNEY APPEARANCE: Andrew Brian Stoll appearing for
                               Chinwendu Alisigwe. Appearance Type: Retained. (Stoll, Andrew) (Entered:
                               08/18/2022)
               09/02/2022   10 NOTICE OF ATTORNEY APPEARANCE Elizabeth Anne Espinosa appearing for
                               USA. (Espinosa, Elizabeth) (Entered: 09/02/2022)
               09/19/2022   11 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Arraignment held on
                               8/9/2022 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Sara Beiter,
                               (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                               through the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               10/11/2022. Redacted Transcript Deadline set for 10/20/2022. Release of Transcript
                               Restriction set for 12/19/2022. (McGuirk, Kelly) (Entered: 09/19/2022)
               09/19/2022   12 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Arraignment proceeding held on
                               8/9/2022 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (McGuirk, Kelly) (Entered: 09/19/2022)
               10/14/2022   13 LETTER MOTION addressed to Judge Valerie E. Caproni from USA dated October
                               14, 2022 re: Proposed Protective Order . Document filed by USA as to Chinwendu
                               Alisigwe. (Attachments: # 1 Text of Proposed Order Proposed Protective
                               Order)(Espinosa, Elizabeth) (Entered: 10/14/2022)
               10/14/2022   14 PROTECTIVE ORDER as to Chinwendu Alisigwe...regarding procedures to be
                               followed that shall govern the handling of confidential material... (Signed by Judge
                               Valerie E. Caproni on 10/14/2022) (ap) (Entered: 10/14/2022)
               10/14/2022       Minute Entry for proceedings held before Judge Valerie E. Caproni: Status Conference
                                as to Chinwendu Alisigwe held on 10/14/2022. Defendant Chinwendu Alisigwe
                                present with attorney Andrew Stoll. AUSA's Elizabeth Espinosa and Jonathan
                                Bodansky present. Court Reporter Andrew Walker present. Trial motion's schedule
                                set. Jury Trial March 13, 2023. Remand continued. (jbo) (Entered: 10/20/2022)
(6 of 20), Page 6 of 20      Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 6 of 20

               10/17/2022   15 ORDER as to Chinwendu Alisigwe. IT IS HEREBY ORDERED that any pretrial
                               motions are due not later than December 9, 2022, any responses are due not later than
                               January 6, 2023, and any replies are due not later than January 13, 2023. Any motions
                               in limine are due not later than January 27, 2023, and any responses are due not later
                               than February 10, 2023. The parties' proposed voir dire questions and requests to
                               charge are due not later than February 24, 2023. IT IS FURTHER ORDERED that a
                               Final Pretrial Conference is scheduled for March 8, 2023 at 2:30 p.m. in Courtroom
                               443, Thurgood Marshall U.S. Courthouse, 40 Foley Square, New York, NY. Jury
                               selection and the trial will commence on March 13, 2023. IT IS FURTHER
                               ORDERED that time is excluded for the period between October 14, 2022, and March
                               8, 2023, under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7) (A), as the ends of justice
                               served by taking such action outweigh the best interest of the public and the Defendant
                               ina speedy trial given the complexity of the case, the volume of discovery, and the
                               logistical difficulties that continue to be caused by COVID−19 (Motions due by
                               12/9/2022., Replies due by 1/13/2023., Responses due by 1/6/2023, Pretrial
                               Conference set for 3/8/2023 at 02:30 PM in Courtroom 443, 40 Centre Street, New
                               York, NY 10007 before Judge Valerie E. Caproni.) Time excluded from 10/14/22 until
                               3/8/23. (Signed by Judge Valerie E. Caproni on 10/17/22)(jw) (Entered: 10/17/2022)
               10/21/2022   16 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Hearing held on
                               7/26/2022 before Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Carole
                               Ludwig, (212) 420−0771, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 11/14/2022. Redacted Transcript Deadline set for 11/21/2022. Release of
                               Transcript Restriction set for 1/19/2023. (js) (Entered: 10/21/2022)
               10/21/2022   17 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Hearing proceeding held on
                               7/26/2022 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (js) (Entered: 10/21/2022)
               11/02/2022   18 FIRST MOTION for Bond ., FIRST MOTION for Release from Custody . Document
                               filed by Chinwendu Alisigwe. (Attachments: # 1 Exhibit A− Arraignment Transcript,
                               # 2 Exhibit B− Customs Interview, # 3 Exhibit C− Green Card, # 4 Exhibit D− Irving
                               Gluck Letter, # 5 Exhibit E− Don Kaplan and Renee Edison−Kaplan Letter, # 6
                               Exhibit F− Letter of Lucy Smith)(Stoll, Andrew) (Entered: 11/02/2022)
               11/03/2022   19 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that the Government
                               must file any response to the motion not later than Monday, November 7, 2022. IT IS
                               FURTHER ORDERED that a bail hearing is scheduled for Wednesday, November 9,
                               2022 at 2:30 P.M. in Courtroom 443 of the Thurgood Marshall United States
                               Courthouse, located at 40 Foley Square, New York, New York 10007. SO ORDERED.
                               (Responses due by 11/7/2022 Bail Hearing set for 11/9/2022 at 02:30 PM in
                               Courtroom 443, 40 Centre Street, New York, NY 10007 before Judge Valerie E.
                               Caproni.) (Signed by Judge Valerie E. Caproni on 11/3/2022) (lnl) (Entered:
                               11/03/2022)
               11/07/2022   20 RESPONSE in Opposition by USA as to Chinwendu Alisigwe re: 18 FIRST MOTION
                               for Bond .FIRST MOTION for Release from Custody .. (Bodansky, Jonathan)
                               (Entered: 11/07/2022)
               11/09/2022   21 ORDER 18 Motion for Bond. as to Chinwendu Alisigwe (1); denying 18 Motion for
                               Release from Custody. IT IS HEREBY ORDERED that the motion is DENIED for the
                               reasons stated at the hearing. The Clerk of Court is respectfully directed to terminate
                               the pending motion at Dkt. 18 (Signed by Judge Valerie E. Caproni on 11/9/22) (jw)
                               (Entered: 11/09/2022)
               11/09/2022       Minute Entry for proceedings held before Judge Valerie E. Caproni: Bond Hearing as
                                to Chinwendu Alisigwe held on 11/9/2022. Defendant Chinwendu Alisigwe present
                                with attorney Andrew Stoll. AUSA Jonathan Bodansky present. Pretrial Officer
                                Stephen Boose present. Defendant'smotion for bail is denied. Defendant remand
                                continued. (Court Reporter Sharonda Jones) (ap) (Entered: 11/14/2022)
(7 of 20), Page 7 of 20      Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 7 of 20

               12/01/2022   22 SEALED DOCUMENT placed in vault. (jus) (Entered: 12/01/2022)
               12/07/2022   23 FIRST MOTION for Extension of Time to file pretrial motions., MOTION for
                               Extension of Time to File . Document filed by Chinwendu Alisigwe. (Stoll, Andrew)
                               (Entered: 12/07/2022)
               12/08/2022   24 MEMO ENDORSEMENT as to Chinwendu Alisigwe granting 23 FIRST MOTION
                               for Extension of Time to file pretrial motion. ENDORSEMENT: Application
                               GRANTED. The deadline for pretrial motions is hereby extended from Friday,
                               December 9, 2022 until Friday, December 23, 2022, the deadline for any responses is
                               extended from Friday, January 6, 2023 until Friday, January 20, 2023, and the deadline
                               for any replies is extended from Friday, January 13, 2023 until Friday, January 27,
                               2023. SO ORDERED. (Motions due by 12/23/2022R. Responses due by 1/20/2023.
                               Replies due by 1/27/2023.) (Signed by Judge Valerie E. Caproni on 12/8/2022) (lnl)
                               (Entered: 12/08/2022)
               12/19/2022   25 SECOND MOTION for Extension of Time to file motions and corresponding
                               deadlines. Document filed by Chinwendu Alisigwe. (Stoll, Andrew) (Entered:
                               12/19/2022)
               12/20/2022   26 MEMO ENDORSEMENT as to Chinwendu Alisigwe (1) granting 25 SECOND
                               MOTION for Extension of Time to file motions and corresponding deadlines.
                               ENDORSEMENT: Application GRANTED. The deadline for pretrial motions is
                               hereby extended from Friday, December 23, 2022 until Friday, January 6, 2023, the
                               deadline for any responses is extended from Friday, January 20, 2023 until Friday,
                               February 3, 2023, and the deadline for any replies is extended from Friday, January 27,
                               2023 until Friday, February 10, 2023. (Signed by Judge Valerie E. Caproni on
                               12/20/2022) (ap) (Entered: 12/20/2022)
               12/20/2022       Set/Reset Deadlines as to Chinwendu Alisigwe: Motions due by 1/6/2023. Responses
                                due by 2/3/2023. Replies due by 2/10/2023. (ap) (Entered: 12/20/2022)
               01/06/2023   27 FIRST MOTION to Suppress Statements and Evidence. Document filed by
                               Chinwendu Alisigwe. (Stoll, Andrew) (Entered: 01/06/2023)
               01/06/2023   28 MEMORANDUM in Support by Chinwendu Alisigwe re 27 FIRST MOTION to
                               Suppress Statements and Evidence.. (Attachments: # 1 Exhibit ROI, # 2 Exhibit FBI
                               Document, # 3 Exhibit Transcript)(Stoll, Andrew) (Entered: 01/06/2023)
               01/06/2023   29 DECLARATION of Chinwendu Alisigwe in Support as to Chinwendu Alisigwe re: 27
                               FIRST MOTION to Suppress Statements and Evidence.. (Stoll, Andrew) (Entered:
                               01/06/2023)
               02/01/2023   30 LETTER MOTION addressed to Judge Valerie E. Caproni dated February 1, 2023 re:
                               Adjournment of Deadline . Document filed by USA as to Chinwendu Alisigwe.
                               (Bodansky, Jonathan) (Entered: 02/01/2023)
               02/02/2023   31 MEMO ENDORSEMENT 30 LETTER MOTION addressed to Judge Valerie E.
                               Caproni dated February 1, 2023 re: Adjournment of Deadline as to Chinwendu
                               Alisigwe....ENDORSEMENT...Application GRANTED. The Government's deadline
                               to respond is hereby extended from Friday, February 3, 2023 until Friday, February 17,
                               2023. Defendant's deadline to reply is extended from Friday, February 10, 2023 until
                               Friday, February 24, 2023. (Signed by Judge Valerie E. Caproni on 2/2/2023) (jw)
                               (Entered: 02/02/2023)
               02/02/2023       Set/Reset Deadlines/Hearings as to Chinwendu Alisigwe:Defendamt Replies due by
                                2/24/2023. Government Responses due by 2/17/2023. (jw) (Entered: 02/02/2023)
               02/17/2023   32 LETTER MOTION addressed to Judge Valerie E. Caproni dated February 17, 2023 re:
                               Change of Plea Hearing and Pretrial Deadlines . Document filed by USA as to
                               Chinwendu Alisigwe. (Bodansky, Jonathan) (Entered: 02/17/2023)
               02/17/2023   33 MEMO ENDORSEMENT as to Chinwendu Alisigwe granting 32 LETTER MOTION
                               addressed to Judge Valerie E. Caproni dated February 17, 2023 re: Change of Plea
                               Hearing and Pretrial Deadlines. ENDORSEMENT: Application GRANTED. The
                               parties must appear for a change−of−plea hearing on Friday, February 24, 2023 at
                               10:30 A.M. The Government must email the plea agreement to Chambers at least 48
                               hours prior to the hearing. SO ORDERED. (Change of Plea Hearing set for 2/24/2023
(8 of 20), Page 8 of 20      Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 8 of 20

                                at 10:30 AM before Judge Valerie E. Caproni) (Signed by Judge Valerie E. Caproni on
                                2/17/2023) (lnl) (Entered: 02/17/2023)
               02/24/2023       Minute Entry for proceedings held before Judge Valerie E. Caproni: Status Conference
                                as to Chinwendu Alisigwe held on 2/24/2023. Defendant Chinwendu Alisigwe prsent
                                with Attorney Andrew Stoll. AUSA Jonathan Bodansky present. Court Reporter
                                George Malinowski present. Defendant's change of plea adjourned until March 2,
                                2023. Time excluded. Remand continued. (bw) (Entered: 02/24/2023)
               02/24/2023       ORAL ORDER as to Chinwendu Alisigwe Time excluded from 2/24/2023 until
                                3/2/2023. (bw) (Entered: 02/24/2023)
               02/24/2023       Terminate Deadlines and Hearings as to Chinwendu Alisigwe: Terminated Change of
                                Plea Hearing set for 2/24/2023 at 10:30 AM before Judge Valerie E. Caproni. (bw)
                                (Entered: 02/24/2023)
               02/24/2023   34 ORDER as to Chinwendu Alisigwe... IT IS HEREBY ORDERED that for the reasons
                               stated at the hearing, the parties must appear for a status conference on Thursday,
                               March 2, 2023 at 10:30 A.M. in Courtroom 443, Thurgood Marshall U.S. Courthouse,
                               40 Foley Square, New York, NY 10007. IT IS FURTHER ORDERED that time
                               remains excluded until March 8, 2023 under the Speedy Trial Act, 18 U.S.C. §
                               3161(h)(7) (A). See Order, Dkt. 15. SO ORDERED. (Signed by Judge Valerie E.
                               Caproni on 2/24/23)(jbo) (Entered: 02/24/2023)
               03/02/2023   35 LETTER MOTION addressed to Judge Valerie E. Caproni from USA dated March 2,
                               2023 re: Request for Evidentiary Hearing On Duress Defense . Document filed by
                               USA as to Chinwendu Alisigwe. (Espinosa, Elizabeth) (Entered: 03/02/2023)
               03/02/2023   36 ORDER as to Chinwendu Alisigwe. WHEREAS on March 2, 2023, the parties
                               appeared before the Court for a status conference; WHEREAS the parties are currently
                               scheduled to begin trial on March 27, 2023; and WHEREAS Defendant indicated at
                               the hearing that he is contemplating presenting an affirmative defense of duress at trial;
                               IT IS HEREBY ORDERED that the parties must appear for a further status conference
                               on Tuesday, April 4, 2023 at 10:30 A.M. in Courtroom 443, Thurgood Marshall U.S.
                               Courthouse, 40 Foley Square, New York, NY 10007. At the conference, Defendant
                               must be prepared to indicate whether he is pursuing a duress defense, any witnesses he
                               intends to call in support of that defense, when he is available for an evidentiary
                               hearing regarding that defense, and when he is available for trial. IT IS FURTHER
                               ORDERED that Defendant's trial date is adjourned sine die pending Defendant's
                               decision regarding whether to assert duress. IT IS FURTHER ORDERED that time is
                               excluded for the period between March 8, 2023 and April 4, 2023 under the Speedy
                               Trial Act, 18 U.S.C. § 3161(h)(7)(A), as the ends of justice served by taking such
                               action outweigh the best interest of the public and the Defendant in a speedy trial given
                               Defendant's need to determine whether he seeks to pursue duress as an affirmative
                               defense. SO ORDERED. ( Status Conference set for 4/4/2023 at 10:30 AM in
                               Courtroom 443, 40 Centre Street, New York, NY 10007 before Judge Valerie E.
                               Caproni. )(Signed by Judge Valerie E. Caproni on 3/2/2023)(bw) (Entered:
                               03/02/2023)
               03/02/2023       Minute Entry for proceedings held before Judge Valerie E. Caproni: Status Conference
                                as to Chinwendu Alisigwe held on 3/2/2023. Defendant Chinwendu Alisigwe present
                                with attorney Andrew Stoll. AUSA's Elizabeth Espinosa and Jonathan Bodansky
                                present. Court Reporter Steven Greenblum present. Status conference set for April 4,
                                2023 at 10:30 a.m. Time excluded until April 4, 2023. Defendant remand continued.
                                (jbo) (Entered: 03/02/2023)
               03/02/2023       Set/Reset Hearings as to Chinwendu Alisigwe: Status Conference set for 4/4/2023 at
                                10:30 AM in Courtroom 443, 40 Centre Street, New York, NY 10007 before Judge
                                Valerie E. Caproni. (anc) (Entered: 03/28/2023)
               03/16/2023   37 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Conference held on
                               3/2/23 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Steven
                               Greenblum, (212) 805−0300, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 4/6/2023. Redacted Transcript Deadline set for 4/17/2023. Release of
                               Transcript Restriction set for 6/14/2023. (Moya, Goretti) (Entered: 03/16/2023)
(9 of 20), Page 9 of 20      Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 9 of 20

               03/16/2023   38 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Conference proceeding held on
                               3/2/23 has been filed by the court reporter/transcriber in the above−captioned matter.
                               The parties have seven (7) calendar days to file with the court a Notice of Intent to
                               Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                               made remotely electronically available to the public without redaction after 90
                               calendar days.... (Moya, Goretti) (Entered: 03/16/2023)
               03/21/2023   39 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Plea held on 2/24/2023
                               before Judge Valerie E. Caproni. Court Reporter/Transcriber: George Malinowski,
                               (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                               through the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               4/11/2023. Redacted Transcript Deadline set for 4/21/2023. Release of Transcript
                               Restriction set for 6/20/2023. (McGuirk, Kelly) (Entered: 03/21/2023)
               03/21/2023   40 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Plea proceeding held on
                               2/24/2023 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (McGuirk, Kelly) (Entered: 03/21/2023)
               04/04/2023       Minute Entry for proceedings held before Judge Valerie E. Caproni:Status Conference
                                as to Chinwendu Alisigwe held on 4/4/2023. Defendant Chinwendu Alisigwe present
                                with attorney Andrew Stoll. AUSA Jonathan Bodansky present. Court Reporter Sadie
                                Herbert present. Status conference held to discuss scheduling a hearing with regards to
                                defendant's duress defense. Defendant remand continued. Time excluded until May 31,
                                2023 (jw) (Entered: 04/04/2023)
               04/05/2023   41 JOINT LETTER MOTION addressed to Judge Valerie E. Caproni dated April 5, 2023
                               re: Scheduling Evidentiary Hearing . Document filed by USA as to Chinwendu
                               Alisigwe. (Bodansky, Jonathan) (Entered: 04/05/2023)
               04/05/2023   42 ORDER as to Chinwendu Alisigwe. IT IS HEREBY ORDERED that the parties must
                               appear for a pretrial evidentiary hearing regarding Defendant's duress defense on
                               Thursday, May 25, 2023 at 11:00 A.M. in Courtroom 443, Thurgood Marshall U.S.
                               Courthouse, 40 Foley Square, New York, NY 10007. IT IS FURTHER ORDERED
                               that not later than Friday, April 21, 2023, Defendant must respond to the Governments
                               letter regarding his threshold burden to present the defense. The Government must
                               reply not later than Friday, May 5, 2023. IT IS FURTHER ORDERED that time is
                               excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(1)(D) for the period
                               between April 4, 2023 and a prompt disposition on the Governments motion.
                               (Government Replies due by 5/5/2023., Defendant Responses due by 4/21/2023,
                               Pretrial Evidentiary Hearing set for 5/25/2023 at 11:00 AM in Courtroom 443, 40
                               Centre Street, New York, NY 10007 before Judge Valerie E. Caproni.) Time excluded
                               from 4/4/23 until 5/5/23. (Signed by Judge Valerie E. Caproni on 4/5/2023)(jw)
                               (Entered: 04/06/2023)
               04/18/2023   43 FIRST LETTER MOTION addressed to Judge Valerie E. Caproni from Andrew Stoll
                               dated 4/18/23 re: reschedule hearing . Document filed by Chinwendu Alisigwe. (Stoll,
                               Andrew) (Entered: 04/18/2023)
               04/19/2023   44 MEMO ENDORSEMENT as to Chinwendu Alisigwe on re: 43 FIRST LETTER
                               MOTION filed by Chinwendu Alisigwe addressed to Judge Valerie E. Caproni from
                               Attorney Andrew Stoll dated 4/18/23 re: reschedule hearing. ENDORSEMENT:
                               Application GRANTED. The hearing scheduled for Thursday, May 25, 2023 at 11:00
                               A.M. is hereby adjourned until Friday, June 2, 2023 at 10:00 A.M. SO ORDERED. (
                               Evidentiary Hearing set for 6/2/2023 at 10:00 AM before Judge Valerie E. Caproni.
                               )(Signed by Judge Valerie E. Caproni on 4/19/2023)(bw) (Entered: 04/20/2023)
               04/20/2023   45 LETTER RESPONSE to Motion by Chinwendu Alisigwe addressed to Judge Valerie
                               E. Caproni from Andrew Stoll dated 4/20/23 re: 35 LETTER MOTION addressed to
                               Judge Valerie E. Caproni from USA dated March 2, 2023 re: Request for Evidentiary
                               Hearing On Duress Defense .. (Stoll, Andrew) (Entered: 04/20/2023)
(10 of 20), Page 10 of 20   Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 10 of 20

              05/10/2023    46 LETTER MOTION addressed to Judge Valerie E. Caproni from USA dated May 10,
                               2023 re: Request to Reschedule June 2 Hearing . Document filed by USA as to
                               Chinwendu Alisigwe. (Espinosa, Elizabeth) (Entered: 05/10/2023)
              05/11/2023    47 MEMO ENDORSEMENT 46 LETTER MOTION addressed to Judge Valerie E.
                               Caproni from USA dated May 10, 2023 re: Request to Reschedule June 2 Hearing as
                               to Chinwendu Alisigwe...ENDORSEMENT...Application GRANTED. The hearing
                               scheduled for Friday, June 2,2023 at 10:00 A.M. is hereby rescheduled to Tuesday,
                               May 30, 2023at 11:00 A.M. (Signed by Judge Valerie E. Caproni on 5/11/2023) (jw)
                               (Entered: 05/11/2023)
              05/11/2023        Set/Reset Deadlines/Hearings as to Chinwendu Alisigwe: Evidentiary Hearing set for
                                5/30/2023 at 11:00 AM before Judge Valerie E. Caproni (jw) (Entered: 05/11/2023)
              05/26/2023    48 LETTER MOTION addressed to Judge Valerie E. Caproni from Andrew B. Stoll
                               dated May 26, 2023 re: Permission to Bring Laptop and Hard Drive into Courthouse .
                               Document filed by Chinwendu Alisigwe. (Stoll, Andrew) (Entered: 05/26/2023)
              05/26/2023    49 MEMO ENDORSEMENT 48 LETTER MOTION addressed to Judge Valerie E.
                               Caproni from Andrew B. Stoll dated May 26, 2023 re: Permission to Bring Laptop and
                               Hard Drive into Courthouse as to Chinwendu Alisigwe...ENDORSEMENT...
                               Application DENIED without prejudice. Counsel must comply with the Undersigned's
                               criminal rules of practice, which require counsel to email a proposed order to
                               Chambers. The form order is available here:
                               https://www.nysd.uscourts.gov/sites/default/files/2020−06/Electronic%20Dev.pdf
                               (Signed by Judge Valerie E. Caproni on 5/26/2023)(jw) (Entered: 05/26/2023)
              05/30/2023        Minute Entry for proceedings held before Judge Valerie E. Caproni: Evidentiary
                                Hearing as to Chinwendu Alisigwe held on 5/30/2023. Defendant Chinwedu Alisigwe
                                present with attorney Andrew Stoll. AUSA's Elizabeth Espinosa and Jonathan
                                Bodansky present. Paralegal Arjun Ahuja present. Court Reporter Rebecca Forman
                                present. Defendant testified regarding duress defense. Briefing schedule set. Remand
                                continued. (lnl) (Entered: 06/01/2023)
              05/31/2023    50 LETTER MOTION addressed to Judge Valerie E. Caproni from USA dated May 31,
                               2023 re: Request to Exclude Time . Document filed by USA as to Chinwendu
                               Alisigwe. (Espinosa, Elizabeth) (Entered: 05/31/2023)
              05/31/2023    51 MEMO ENDORSED denying 50 LETTER MOTION re: Request to Exclude Time as
                               to Chinwendu Alisigwe (1)... ENDORSEMENT: Application DENIED as moot. Time
                               in this case has been excluded under the Speedy Trial Act until "a prompt disposition
                               on the Government's motion" to preclude Mr. Alisigwe from presenting a duress
                               defense at trial. See Order, Dkt. 42. The Court will schedule a status conference when
                               resolving the motion. SO ORDERED. (Signed by Judge Valerie E. Caproni on
                               5/31/23) (jbo) (Entered: 06/01/2023)
              06/23/2023    52 OPINION AND ORDER as to Chinwendu Alisigwe. The parties must appear for a
                               status conference on Monday, July 10, 2023 at 10 A.M. in Courtroom 443 of the
                               Thurgood Marshall United States Courthouse, located at 40 Foley Square, New York,
                               New York 10007. The parties must be prepared to discuss a trial schedule at the
                               conference. The Clerk of Court is respectfully directed to close the open motion at
                               Dkt. 35. (Status Conference set for 7/10/2023 at 10:00 AM in Courtroom 443, 40
                               Centre Street, New York, NY 10007 before Judge Valerie E. Caproni) (Signed by
                               Judge Valerie E. Caproni on 6/23/2023) (See ORDER set forth) (ap) Modified on
                               6/23/2023 (ap). (Entered: 06/23/2023)
              06/29/2023    53 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Hearing held on
                               5/30/2023 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Rebecca
                               Forman, (212) 805−0300, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 7/20/2023. Redacted Transcript Deadline set for 7/31/2023. Release of
                               Transcript Restriction set for 9/27/2023. (McGuirk, Kelly) (Entered: 06/29/2023)
              06/29/2023    54 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Hearing proceeding held on
                               5/30/2023 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
(11 of 20), Page 11 of 20   Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 11 of 20

                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 06/29/2023)
              07/10/2023    55 ORDER as to Chinwendu Alisigwe. IT IS HEREBY ORDERED that for the reasons
                               stated at the July 10, 2023 conference, the trial in this case is scheduled for Monday,
                               November 6, 2023 in Courtroom 443 of the Thurgood Marshall United States
                               Courthouse, located at 40 Foley Square, New York, New York 10007. The Final
                               Pretrial Conference is scheduled for Thursday, November 2, 2023 at 2:30 P.M. IT IS
                               FURTHER ORDERED that the Government's response to Defendant's pretrial motion
                               is due not later than Friday, August 4, 2023. Defendant's reply is due not later than
                               Friday, August 18, 2023. Any hearing required to resolve the motion will be held on
                               Thursday, October 19, 2023 at 10:00 A.M. IT IS FURTHER ORDERED that any
                               motions in limine are due not later than Friday, August 25, 2023, with responses due
                               not later than Friday, September 8, 2023. The parties proposed voir dire questions and
                               requests to charge are due not later than Friday, September 22, 2023. (Defendant
                               Replies due by 8/18/2023., Responses due by 8/4/2023, Motion Hearing set for
                               10/19/2023 at 10:00 AM before Judge Valerie E. Caproni., Final Pretrial Conference
                               set for 11/2/2023 at 02:30 PM before Judge Valerie E. Caproni.) (Signed by Judge
                               Valerie E. Caproni on 7/10/2023)(jw) (Entered: 07/10/2023)
              07/10/2023        Minute Entry for proceedings held before Judge Valerie E. Caproni: Status Conference
                                as to Chinwendu Alisigwe held on 7/10/2023. Defendant Chinwendu Alisigwe present
                                with attorney Andrew Stoll. AUSA Elizabeth Espoinosa present. Trial motions'
                                schedule set. Jury Trial to begin November 6, 2023 at 10:00 a.m. Time excluded until
                                November 6, 2023. Defendant remand continued. (Jury Trial set for 11/6/2023 at 10:00
                                AM before Judge Valerie E. Caproni) (Court Reporter Dana Holland) (ap) (Entered:
                                07/11/2023)
              08/02/2023    56 NOTICE OF ATTORNEY APPEARANCE William C. Kinder appearing for USA.
                               (Kinder, William) (Entered: 08/02/2023)
              08/04/2023    57 MEMORANDUM in Opposition by USA as to Chinwendu Alisigwe re 27 FIRST
                               MOTION to Suppress Statements and Evidence.. (Attachments: # 1 Exhibit
                               Declaration of Special Agent William McKeen)(Bodansky, Jonathan) (Entered:
                               08/04/2023)
              08/07/2023    58 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that, because Mr.
                               Alisigwe's moving papers are sufficiently detailed to establish contested issues of fact
                               regarding the Seizure's lawfulness, the parties must appear for a suppression hearing
                               regarding the Seizure. The hearing is rescheduled from Thursday, October 19, 2023, at
                               10:00 A.M. to Wednesday, September 13, 2023, at 10:00 A.M. SO ORDERED.
                               (Suppression Hearing set for 9/13/2023 at 10:00 AM before Judge Valerie E. Caproni)
                               (Signed by Judge Valerie E. Caproni on 8/7/2023) (lnl) (Entered: 08/07/2023)
              08/09/2023    59 DECLARATION of Chinwendu Alisigwe in Support as to Chinwendu Alisigwe re: 27
                               FIRST MOTION to Suppress Statements and Evidence.. (Stoll, Andrew) (Entered:
                               08/09/2023)
              08/16/2023    60 LETTER MOTION addressed to Judge Valerie E. Caproni from AUSA William
                               Kinder dated August 16, 2023 re: Suppression Hearing Schedule . Document filed by
                               USA as to Chinwendu Alisigwe. (Kinder, William) (Entered: 08/16/2023)
              08/16/2023    61 MEMO ENDORSEMENT as to Chinwendu Alisigwe (1) granting 60 LETTER
                               MOTION addressed to Judge Valerie E. Caproni from AUSA William Kinder dated
                               August 16, 2023 re: Suppression Hearing Schedule. ENDORSEMENT: Application
                               GRANTED. The suppression hearing scheduled for Wednesday, September 13, 2023
                               at 10:00 A.M. is hereby adjourned until Thursday, September 21, 2023 at 2:30 P.M.
                               (Signed by Judge Valerie E. Caproni on 8/16/2023) (ap) (Entered: 08/16/2023)
              08/16/2023        Set/Reset Hearings as to Chinwendu Alisigwe: Suppression Hearing set for 9/21/2023
                                at 02:30 PM before Judge Valerie E. Caproni. (ap) (Entered: 08/16/2023)
              08/17/2023    62 (S1) SUPERSEDING INDICTMENT FILED as to Chinwendu Alisigwe (1) count(s)
                               1s, 2s, 3s, 4s. (jm) (Entered: 08/17/2023)
(12 of 20), Page 12 of 20   Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 12 of 20

              08/17/2023    63 ORDER as to Chinwendu Alisigwe. IT IS HEREBY ORDERED that an arraignment
                               in this matter is scheduled for Tuesday, August 22, 2023, at 10:00 a.m. The
                               arraignment will be held in Courtroom 443 of the Thurgood Marshall United States
                               Courthouse, located at 40 Foley Square, New York, New York 10007 (Arraignment
                               set for 8/22/2023 at 10:00 AM in Courtroom 443, 40 Centre Street, New York, NY
                               10007 before Judge Valerie E. Caproni.) (Signed by Judge Valerie E. Caproni on
                               8/17/2023)(jw) (Entered: 08/18/2023)
              08/21/2023    64 MOTION for Andrew B. Stoll to Withdraw as Attorney . Document filed by
                               Chinwendu Alisigwe. (Stoll, Andrew) (Entered: 08/21/2023)
              08/21/2023    65 DECLARATION of Andrew B. Stoll in Support as to Chinwendu Alisigwe re: 64
                               MOTION for Andrew B. Stoll to Withdraw as Attorney .. (Stoll, Andrew) (Entered:
                               08/21/2023)
              08/22/2023    66 ORDER as to Chinwendu Alisigwe. WHEREAS on August 17, 2023, a Superseding
                               Indictment was filed against Defendant Chiwendu Alisigwe, see Dkt. 62; WHEREAS
                               on August 21, 2023, Defendant's counsel Andrew Stoll moved to withdraw from this
                               matter, see Not. of Mot., Dkt. 64; WHEREAS on August 22, 2023, the parties
                               appeared for a conference (the "Conference"); and WHEREAS at the Conference,
                               Defendant was arraigned and the Court entered a plea of not guilty on his behalf; IT IS
                               HEREBY ORDERED that for the reasons stated at the Conference, Mr. Stoll is
                               relieved as Defendant's counsel and the Federal Defenders of New York are
                               reappointed as Defendant's counsel. The Clerk of Court is respectfully directed to
                               close the open motion at Docket Entry 64. IT IS FURTHER ORDERED that the
                               parties must appear for a status conference on Friday, August 25, 2023, at 10:30 a.m.
                               in Courtroom 443 of the Thurgood Marshall United States Courthouse, located at 40
                               Foley Square, New York, New York 10007. SO ORDERED. ( Status Conference set
                               for 8/25/2023 at 10:30 AM in Courtroom 443, 40 Centre Street, New York, NY 10007
                               before Judge Valerie E. Caproni. ) (Signed by Judge Valerie E. Caproni on
                               8/22/2023)(bw) (Entered: 08/22/2023)
              08/22/2023        Attorney update in case as to Chinwendu Alisigwe. Attorney Andrew Brian Stoll
                                terminated. (bw) (Entered: 08/22/2023)
              08/22/2023        Minute Entry for proceedings held before Judge Valerie E. Caproni: Arraignment as to
                                Chinwendu Alisigwe (1) Count 1s,2s,3s,4s held on 8/22/2023. Defendant Chinwendu
                                Alisigwe present with attorney Andrew Stoll. AUSA's Elizabeth Espinosa and William
                                Kinder present. Defendant arraigned on S1 Superseding Indictment and entered a plea
                                of NOT GUILTY. Andrew Stoll relieved as counsel for the defendant and Federal
                                Defenders are appointed. Status conference scheduled for August 25, 2023 at 10:30
                                a.m. Defendant remand continued. (Status Conference set for 8/25/2023 at 10:30 AM
                                before Judge Valerie E. Caproni) (Court Reporter Raquel Robles) (ap) (Entered:
                                08/22/2023)
              08/25/2023    67 ORDER as to Chinwendu Alisigwe. WHEREAS on July 10, 2023, the Court set a trial
                               date for Monday, November 6, 2023, see Order, Dkt. 55; WHEREAS on August 4,
                               2023, the Government responded to Defendant's motion to suppress, see Gov't Mem.,
                               Dkt. 57; WHEREAS on August 16, 2023, the Court scheduled a suppression hearing
                               for Thursday, September 21, 2023, at 2:30 P.M., see Order, Dkt. 61; WHEREAS on
                               August 22, 2023, the Court relieved Defendant's previous counsel and reappointed the
                               Federal Defenders of New York to represent him; see Order, Dkt. 66; and WHEREAS
                               on August 25, 2023, the parties appeared for a status conference (the "Conference");
                               IT IS HEREBY ORDERED that for the reasons stated at the Conference, any reply in
                               support of Defendant's motion to suppress is due not later than Friday, September 29,
                               2023. The suppression hearing is adjourned from Thursday, September 21, 2023, at
                               2:30 P.M. to Thursday, October 19, 2023, at 10:00 A.M. IT IS FURTHER ORDERED
                               that for the reasons stated at the Conference, the trial date is adjourned from Monday,
                               November 6, 2023, to Monday, December 11, 2023. The deadline for motions in
                               limine is extended from Friday, August 25, 2023, to Friday, October 6, 2023, with
                               responses due not later than Friday, October 20, 2023. The deadline for proposed voir
                               dire questions and requests to charge is extended from Friday, September 22, 2023, to
                               Friday, October 27, 2023. The Final Pre−Trial Conference is adjourned from
                               Thursday, November 2, 2023, at 2:30 P.M. to Thursday, December 7, 2023, at 2:30
                               P.M. SO ORDERED. ( Replies due by 9/29/2023. Suppression Hearing set for
                               10/19/2023 at 10:00 AM before Judge Valerie E. Caproni. Brief due by 8/6/2023;
(13 of 20), Page 13 of 20   Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 13 of 20

                                Responses to Brief due by 10/20/2023; Ready for Trial by 12/11/2023. Final Pretrial
                                Conference set for 12/7/2023 at 02:30 PM before Judge Valerie E. Caproni. ) (Signed
                                by Judge Valerie E. Caproni on 8/25/2023)(bw) (Entered: 08/25/2023)
              08/25/2023        Terminate Deadlines and Hearings as to Chinwendu Alisigwe: Terminated Jury Trial
                                set for 11/6/2023 at 10:00 AM before Judge Valerie E. Caproni. (bw) (Entered:
                                08/25/2023)
              08/25/2023        Minute Entry for proceedings held before Judge Valerie E. Caproni: Status Conference
                                as to Chinwendu Alisigwe held on 8/25/2023. Defendant Chinwendu Alisigwe present
                                with attorney Ariel Werner. AUSA's Elizabeth Espinosa, Jonathan Bodansky and
                                William Kinder present. Court Reporter Kristen Carannante present. Suppression
                                Hearing scheduled for October 19, 2023. Motion's schedule set. Jury Trial to begin
                                December 11, 2023. Defendant remand continued. (jbo) (Entered: 08/25/2023)
              08/25/2023        Set/Reset Hearings as to Chinwendu Alisigwe: Jury Trial set for 12/11/2023 at 10:00
                                AM in Courtroom 443, 40 Centre Street, New York, NY 10007 before Judge Valerie
                                E. Caproni. (anc) (Entered: 09/20/2023)
              08/29/2023    68 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Conference held on
                               7/10/2023 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Dana
                               Holland, (212) 805−0320, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 9/19/2023. Redacted Transcript Deadline set for 9/29/2023. Release of
                               Transcript Restriction set for 11/27/2023. (McGuirk, Kelly) (Entered: 08/29/2023)
              08/29/2023    69 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Conference proceeding held on
                               7/10/2023 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (McGuirk, Kelly) (Entered: 08/29/2023)
              09/15/2023    70 ORDER as to Chinwendu Alisigwe: WHEREAS a suppression hearing is currently
                               scheduled for Thursday, October 19, 2023, at 10:00 A.M.; and WHEREAS that time is
                               no longer convenient for the Court; IT IS HEREBY ORDERED that the suppression
                               hearing is adjourned until Friday, October 20, 2023, at 2:30 P.M. (Suppression
                               Hearing set for 10/20/2023 at 02:30 PM before Judge Valerie E. Caproni) (Signed by
                               Judge Valerie E. Caproni on 9/15/2023) (ap) (Entered: 09/15/2023)
              09/21/2023    71 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Conference held on
                               8/25/23 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Kristen
                               Carannante, (212) 805−0300, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 10/12/2023. Redacted Transcript Deadline set for 10/23/2023. Release of
                               Transcript Restriction set for 12/20/2023. (Moya, Goretti) (Entered: 09/21/2023)
              09/21/2023    72 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Conference proceeding held on
                               8/25/23 has been filed by the court reporter/transcriber in the above−captioned matter.
                               The parties have seven (7) calendar days to file with the court a Notice of Intent to
                               Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                               made remotely electronically available to the public without redaction after 90
                               calendar days.... (Moya, Goretti) (Entered: 09/21/2023)
              09/26/2023    73 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Hearing held on
                               5/30/2023 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Rebecca
                               Forman, (212) 805−0300, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 10/17/2023. Redacted Transcript Deadline set for 10/27/2023. Release of
                               Transcript Restriction set for 12/26/2023. (McGuirk, Kelly) (Entered: 09/26/2023)
(14 of 20), Page 14 of 20   Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 14 of 20

              09/26/2023    74 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Hearing proceeding held on
                               5/30/2023 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (McGuirk, Kelly) (Entered: 09/26/2023)
              09/27/2023    75 LETTER MOTION addressed to Judge Valerie E. Caproni from Ariel Werner dated
                               September 27, 2023 re: Request to adjourn pretrial deadlines . Document filed by
                               Chinwendu Alisigwe. (Werner, Ariel) (Entered: 09/27/2023)
              09/28/2023    76 MEMO ENDORSEMENT as to Chinwendu Alisigwe on re: 75 LETTER MOTION
                               filed by Chinwendu Alisigwe addressed to Judge Valerie E. Caproni from Attorney
                               Ariel Werner dated September 27, 2023 re: Request to adjourn pretrial deadlines.
                               ENDORSEMENT: Application GRANTED. The new pretrial schedule is as follows:
                               − Defendant's deadline to file his reply in support of his motion to suppress is extended
                               from September 29, 2023, to October 13, 2023; − The suppression hearing is
                               adjourned from October 20, 2023, at 2:30 P.M. to November 17, 2023, at 2:30 P.M.; −
                               The deadline to submit motions in limine is extended from October 6, 2023, to
                               October 20, 2023; − The deadline to submit responses to motions in limine is extended
                               from October 20, 2023, to November 3, 2023; − The deadline to submit voir dire
                               questions and requests to charge is extended from October 27, 2023, to November 15,
                               2023. SO ORDERED. ( Replies due by 10/13/2023. Brief (Motions in limine) due by
                               10/20/2023; Responses to Brief due by 11/3/2023. Suppression Hearing set for
                               11/17/2023 at 02:30 PM before Judge Valerie E. Caproni. ) (Signed by Judge Valerie
                               E. Caproni on 9/28/2023)(bw) (Entered: 09/28/2023)
              10/10/2023    77 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Arraignment held on
                               8/22/2023 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Raquel
                               Robles, (212) 805−0300, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
                               Request due 10/31/2023. Redacted Transcript Deadline set for 11/13/2023. Release of
                               Transcript Restriction set for 1/8/2024. (McGuirk, Kelly) (Entered: 10/10/2023)
              10/10/2023    78 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                               Notice is hereby given that an official transcript of a Arraignment proceeding held on
                               8/22/2023 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (McGuirk, Kelly) (Entered: 10/10/2023)
              10/13/2023    79 REPLY MEMORANDUM OF LAW in Support as to Chinwendu Alisigwe re: 27
                               FIRST MOTION to Suppress Statements and Evidence. . (Werner, Ariel) (Entered:
                               10/13/2023)
              10/16/2023    80 NOTICE OF ATTORNEY APPEARANCE Meredith Foster appearing for USA.
                               (Foster, Meredith) (Entered: 10/16/2023)
              10/20/2023    81 MOTION for Discovery Reciprocal discovery of defense trial exhibits. Document filed
                               by USA as to Chinwendu Alisigwe. (Kinder, William) (Entered: 10/20/2023)
              10/20/2023    82 MOTION in Limine Government's Motions in Limine. Document filed by USA as to
                               Chinwendu Alisigwe. (Kinder, William) (Entered: 10/20/2023)
              10/20/2023    83 MOTION in Limine . Document filed by Chinwendu Alisigwe. (Werner, Ariel)
                               (Entered: 10/20/2023)
              11/03/2023    84 MEMORANDUM in Opposition by Chinwendu Alisigwe re 81 MOTION for
                               Discovery Reciprocal discovery of defense trial exhibits., 82 MOTION in Limine
                               Government's Motions in Limine.. (Werner, Ariel) (Entered: 11/03/2023)
              11/03/2023    85 RESPONSE to Motion by USA as to Chinwendu Alisigwe re: 83 MOTION in Limine
                               .. (Foster, Meredith) (Entered: 11/03/2023)
(15 of 20), Page 15 of 20   Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 15 of 20

              11/05/2023    86 NOTICE OF ATTORNEY APPEARANCE: Sylvie Jill Levine appearing for
                               Chinwendu Alisigwe. Appearance Type: Public Defender or Community Defender
                               Appointment. (Levine, Sylvie) (Entered: 11/05/2023)
              11/10/2023    87 LETTER MOTION addressed to Judge Valerie E. Caproni from Ariel Werner and
                               Sylvie Levine dated November 10, 2023 re: Request for argument time on November
                               17, 2023 re: motion for reconsideration . Document filed by Chinwendu Alisigwe.
                               (Werner, Ariel) (Entered: 11/10/2023)
              11/13/2023    88 ORDER as to Chinwendu Alisigwe. WHEREAS a suppression hearing is currently
                               scheduled for Friday, November 17, 2023, at 2:30 P.M.; WHEREAS the parties filed
                               motions in limine on October 20, 2023, Dkts. 81−83; and WHEREAS the parties filed
                               responses in opposition to the motions in limine on November 3, 2023, Dkts. 84−85.
                               IT IS HEREBY ORDERED that the parties be prepared to discuss the motions in
                               limine and the defense's pending motion for reconsideration of the Court's order
                               precluding a duress defense at the suppression hearing on November 17, 2023. IT IS
                               FURTHER ORDERED that the Clerk of Court is respectfully directed to terminate the
                               open motion at Dkt. 87. SO ORDERED. ( Suppression Hearing set for 11/17/2023 at
                               02:30 PM before Judge Valerie E. Caproni. ) (Signed by Judge Valerie E. Caproni on
                               11/13/2023)(bw) (Entered: 11/13/2023)
              11/13/2023    89 LETTER by USA as to Chinwendu Alisigwe addressed to Judge Valerie E. Caproni
                               from AUSA William Kinder dated November 13, 2023 re: Suppression Hearing
                               Document filed by USA. (Kinder, William) (Entered: 11/13/2023)
              11/14/2023    90 NOTICE OF ATTORNEY APPEARANCE Adam Sloan Hobson appearing for USA.
                               (Hobson, Adam) (Entered: 11/14/2023)
              11/14/2023    91 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that the hearing is
                               rescheduled for Friday, November 17, 2023, at 2:00 P.M. SO ORDERED.
                               (Suppression Hearing set for 11/17/2023 at 02:00 PM before Judge Valerie E.
                               Caproni) (Signed by Judge Valerie E. Caproni on 11/14/2023) (lnl) (Entered:
                               11/14/2023)
              11/15/2023    92 Proposed Voir Dire Questions by USA as to Chinwendu Alisigwe. (Foster, Meredith)
                               (Entered: 11/15/2023)
              11/15/2023    93 Proposed Jury Instructions by USA as to Chinwendu Alisigwe. (Attachments: # 1
                               Exhibit Jury Instructions in U.S. v. Garcia, # 2 Exhibit Jury Instructions in U.S. v.
                               Kone, # 3 Exhibit Jury Instructions in U.S. v. Conde, # 4 Exhibit Jury Instructions in
                               U.S. v. Insaidoo)(Foster, Meredith) (Entered: 11/15/2023)
              11/15/2023    94 Proposed Voir Dire Questions by Chinwendu Alisigwe. (Werner, Ariel) (Entered:
                               11/15/2023)
              11/15/2023    95 Proposed Jury Instructions by Chinwendu Alisigwe. (Werner, Ariel) (Entered:
                               11/15/2023)
              11/17/2023        Minute Entry for proceedings held before Judge Valerie E. Caproni: Suppression
                                Hearing as to Chinwendu Alisigwe held on 11/17/2023. Defendant Chinwendu
                                Alisigwe present with attorneys Ariel Werner and Sylvie Levine. AUSA's William
                                Kinder, Meredith Foster and Adam Hobson present. Court Reporter Rebecca Forman
                                present. Witness testimony heard. Motion briefing schedule set. Defendant remand
                                continued. (bw) (Entered: 12/01/2023)
              11/20/2023    96 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that for the reasons
                               stated at the Conference, no later than Wednesday, November 22, 2023, Alisigwe may
                               file a brief, not to exceed seven pages, on whether the plain view exception applies to
                               the seizure of passports in his bedroom. The Government's response brief, also not to
                               exceed seven pages, is due no later than Wednesday, November 29, 2023. IT IS
                               FURTHER ORDERED that not later than Wednesday, November 29, 2023, the
                               Government must submit a letter via ECF providing the Court the dates on which
                               Alisigwe's international mail was intercepted. IT IS FURTHER ORDERED that for
                               the reasons stated at the Conference, Alisigwe's motion for reconsideration of the
                               duress defense is taken under advisement. IT IS FURTHER ORDERED that for the
                               reasons stated at the Conference, if the Court denies Alisigwe's motion for
                               reconsideration, then the Government's motion to preclude evidence of a backdoor
                               duress defense is GRANTED. IT IS FURTHER ORDERED that for the reasons stated
(16 of 20), Page 16 of 20     Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 16 of 20

                                 at the Conference, Alisigwe's motion to preclude cumulative, irrelevant, and
                                 prejudicial evidence of the underlying fraud is DENIED without prejudice. Alisigwe
                                 may reraise the objection if and when the Government attempts to offer cumulative,
                                 irrelevant, or prejudicial evidence. IT IS FURTHER ORDERED that for the reasons
                                 stated at the Conference, Alisigwe's motion for early disclosure of § 3500 materials
                                 and an exhibit list is DENIED. That said, the Government is encouraged to provide
                                 Alisigwe with the § 3500 material and an exhibit list as early as possible. IT IS
                                 FURTHER ORDERED that for the reasons stated at the Conference, the Government's
                                 motion to limit the cross−examination of Special Agent McKeen to the scope of the
                                 direct and matters concerning his credibility is GRANTED. IT IS FURTHER
                                 ORDERED that for the reasons stated at the Conference, the Government's motion for
                                 discovery is DENIED. That said, Alisigwe is encouraged to provide the Government
                                 and the Court with an exhibit list of routine exhibits that do not reveal confidential trial
                                 strategy in advance of trial. (Motions due by 11/22/2023. Responses due by
                                 11/29/2023) (Signed by Judge Valerie E. Caproni on 11/20/2023) (See ORDER set
                                 forth) (ap) (Entered: 11/20/2023)
              11/22/2023     97 MEMORANDUM in Support by Chinwendu Alisigwe re 27 FIRST MOTION to
                                Suppress Statements and Evidence.. Post−hearing brief in support of motion to
                                suppress (Werner, Ariel) (Entered: 11/22/2023)
              11/28/2023     98 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Hearing held on
                                11/17/2023 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Rebecca
                                Forman, (212) 805−0300, Transcript may be viewed at the court public terminal or
                                purchased through the Court Reporter/Transcriber before the deadline for Release of
                                Transcript Restriction. After that date it may be obtained through PACER. Redaction
                                Request due 12/19/2023. Redacted Transcript Deadline set for 12/29/2023. Release of
                                Transcript Restriction set for 2/26/2024. (McGuirk, Kelly) (Entered: 11/28/2023)
              11/28/2023     99 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                                Notice is hereby given that an official transcript of a Hearing proceeding held on
                                11/17/2023 has been filed by the court reporter/transcriber in the above−captioned
                                matter. The parties have seven (7) calendar days to file with the court a Notice of
                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 11/28/2023)
              11/29/2023    100 MEMORANDUM in Opposition by USA as to Chinwendu Alisigwe re 27 FIRST
                                MOTION to Suppress Statements and Evidence.. Post−Hearing Letter Brief
                                Regarding Passports and Licenses Seized at Arrest (Kinder, William) (Entered:
                                11/29/2023)
              11/29/2023    101 LETTER by USA as to Chinwendu Alisigwe addressed to Judge Valerie E. Caproni
                                from AUSA William Kinder dated November 29, 2023 re: Dates of International Mail
                                Seizures Document filed by USA. (Kinder, William) (Entered: 11/29/2023)
              11/30/2023    102 OPINION AND ORDER as to Chinwendu Alisigwe. For the foregoing reasons,
                                Alisigwe's motion to suppress is DENIED. His motion for reconsideration of the
                                Duress Opinion is also DENIED. The Clerk of Court is respectfully directed to close
                                the open motions at Docket Entry 27 and 83. (Signed by Judge Valerie E. Caproni on
                                11/30/2023)(jw) (Entered: 11/30/2023)
              11/30/2023    103 SEALED DOCUMENT placed in vault. (nmo) (Entered: 11/30/2023)
              12/04/2023    104 LETTER by USA as to Chinwendu Alisigwe addressed to Judge Valerie E. Caproni
                                from Adam S. Hobson dated December 4, 2023 re: Final Pretrial Conference Schedule
                                Document filed by USA. (Hobson, Adam) (Entered: 12/04/2023)
              12/04/2023    105 MEMO ENDORSEMENT as to Chinwendu Alisigwe on re: 104 LETTER by USA as
                                to Chinwendu Alisigwe addressed to Judge Valerie E. Caproni from AUSA Adam S.
                                Hobson dated December 4, 2023 re: Final Pretrial Conference Schedule.
                                ENDORSEMENT: Application GRANTED. The final pretrial conference scheduled
                                for Thursday, December 7, 2023, at 2:30 P.M. is rescheduled for Thursday, December
                                7, 2023 at 10:30 A.M. SO ORDERED. ( Pretrial Conference set for 12/7/2023 at 10:30
                                AM before Judge Valerie E. Caproni. ) (Signed by Judge Valerie E. Caproni on
                                12/4/2023)(bw) (Entered: 12/04/2023)
(17 of 20), Page 17 of 20     Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 17 of 20

              12/05/2023    106 LETTER MOTION addressed to Judge Valerie E. Caproni from Ariel Werner dated
                                December 5, 2023 re: Request for order permitting use of electronic devices .
                                Document filed by Chinwendu Alisigwe. (Attachments: # 1 Proposed Order Proposed
                                Order)(Werner, Ariel) (Entered: 12/05/2023)
              12/05/2023    107 LETTER by USA as to Chinwendu Alisigwe addressed to Judge Valerie E. Caproni
                                from USA dated 12/5/2023 re: Voir Dire Questions Document filed by USA.
                                (Attachments: # 1 Exhibit List of Names, Entities, Places)(Foster, Meredith) (Entered:
                                12/05/2023)
              12/06/2023    108 SUPPLEMENTAL MOTION in Limine . Document filed by USA as to Chinwendu
                                Alisigwe. (Foster, Meredith) (Entered: 12/06/2023)
              12/06/2023          Minute Entry for proceedings held before Judge Valerie E. Caproni: Pretrial
                                  Conference as to Chinwendu Alisigwe held on 12/6/2023. Defendant Chinwendu
                                  Alisigwe present with attorneys Ariel Werner and Sylvie Levine. AUSA's William
                                  Kinder, Meredith Foster and Adam Hobson present. Court Reporter Pamela Utter
                                  present. Jury selection and Jury Trial to begin December 11, 2023. Defendant remand
                                  continued. (bw) (Entered: 12/11/2023)
              12/07/2023    109 ORDER as to Chinwendu Alisigwe. WHEREAS on December 6, 2023, the
                                Government filed a motion in limine requesting the Court to rule that Mr. Alisigwe's
                                tax returns for the years 2017 to 2021 and his application for naturalization are
                                admissible, see Dkt. 108; and WHEREAS on December 7, 2023, the parties appeared
                                for a Final Pre−Trial Conference; IT IS HEREBY ORDERED that the Government's
                                supplemental motion in limine is GRANTED IN PART. That Mr. Alisigwe (a) listed
                                certain names on his naturalization application form and (b) failed to report certain
                                income in his tax returns are relevant facts, and the parties have indicated that they
                                believe they can reach an appropriate stipulation as to those facts. The Government
                                should not mention either fact during its opening and must provide the Court with
                                notice before mentioning either of those facts in front of the jury; when the
                                Government wishes to introduce the stipulation, the Court will rule on the Defendant's
                                Rule 403 objection. If the parties fail to agree on the language of either stipulation, the
                                Government must notify the Court immediately so that it can rule on the admissibility
                                of either document itself. IT IS FURTHER ORDERED that the Clerk of Court is
                                respectfully directed to terminate the open motion at Dkt. 108. SO ORDERED.
                                (Signed by Judge Valerie E. Caproni on 12/7/2023)(bw) (Entered: 12/07/2023)
              12/11/2023    110 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that the parties be
                                prepared to address at the final charge conference the issues raised in this Order. SO
                                ORDERED. (Signed by Judge Valerie E. Caproni on 12/8/2023) (lnl) (Entered:
                                12/11/2023)
              12/11/2023          Minute Entry for proceedings held before Judge Valerie E. Caproni: Voir Dire held on
                                  12/11/2023 as to Chinwendu Alisigwe. Defendant Chinwendu Alisigwe present with
                                  attorneys Ariel Werner and Sylvie Levine present. AUSA's William Kinder, Meredith
                                  Foster and Adam Hobson present. Jury selection completed. Opening statements
                                  heard. Witness testimony heard. Jury Trial to continue tomorrow, December 12, 2023.
                                  Defendant remand continued. (Court Reporter Pamela Utter and Tracy Groth) (ap)
                                  (Entered: 12/12/2023)
              12/12/2023          Minute Entry for proceedings held before Judge Valerie E. Caproni: Jury Trial as to
                                  Chinwendu Alisigwe held on 12/12/2023. Defendant Chinwendu Alisigwe present
                                  with attorneys Ariel Werner and Sylvie Levine present. AUSA's William Kinder,
                                  Meredith Foster and Adam Hobson present. Court Reporters Pamela Utter and Tracy
                                  Groth present. Witness testimony heard. Jury Trial to continue tomorrow, December
                                  13, 2023. Defendant remand continued. (lnl) (Entered: 12/13/2023)
              12/13/2023          Minute Entry for proceedings held before Judge Valerie E. Caproni: Jury Trial as to
                                  Chinwendu Alisigwe held on 12/13/2023. Defendant Chinwendu Alisigwe present
                                  with attorneys Ariel Werner and Sylvie Levine present. AUSA's William Kinder,
                                  Meredith Foster and Adam Hobson present. Court Reporters Pamela Utter and Tracy
                                  Groth present. Witness testimony heard. Closing summations completed. Jury Trial to
                                  continue tomorrow, December 14 2023. Defendant remand continued. (lnl) (Entered:
                                  12/14/2023)
(18 of 20), Page 18 of 20     Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 18 of 20

              12/14/2023    111 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that Mr. Alisigwe
                                will be sentenced on Monday, April 8, 2024, at 11:00 A.M. in Courtroom 443 of the
                                Thurgood Marshall Courthouse, 40 Foley Square, New York, New York, 10007.
                                Sentencing submissions are due on Monday, March 25, 2024. IT IS FURTHER
                                ORDERED that any post−trial motions are due by no later than Friday, January 19,
                                2024. The Government's response to any post−trial motions is due by no later than
                                Friday, February 9, 2024, and the Defendant's reply is due by no later than Friday,
                                February 16, 2024. SO ORDERED. (Motions due by 1/19/2024. Responses due by
                                2/9/2024. Replies due by 2/16/2024. Sentencing set for 4/8/2024 at 11:00 AM in
                                Courtroom 443, 40 Centre Street, New York, NY 10007 before Judge Valerie E.
                                Caproni.) (Signed by Judge Valerie E. Caproni on 12/14/2023) (lnl) (Entered:
                                12/14/2023)
              12/14/2023          Minute Entry for proceedings held before Judge Valerie E. Caproni: Jury Trial as to
                                  Chinwendu Alisigwe held on 12/14/2023. Defendant Chinwendu Alisigwe present
                                  with attorneys Ariel Werner and Sylvie Levine present. AUSA's William Kinder,
                                  Meredith Foster and Adam Hobson present. Court Reporters Pamela Utter and Tracy
                                  Groth present. Jury charge completed. Verdict returned. Defendant remand continued.
                                  (lnl) (Entered: 12/15/2023)
              12/15/2023    112 JURY VERDICT as to Chinwendu Alisigwe (1) Guilty on Count 1s,2s,3s,4s. (ap)
                                (Entered: 12/18/2023)
              12/15/2023    113 EXHIBIT 1−NOTE FROM JURY as to Chinwendu Alisigwe. (ap) Modified on
                                12/18/2023 (ap). (Entered: 12/18/2023)
              12/15/2023    114 EXHIBIT 2−NOTE FROM JURY as to Chinwendu Alisigwe. (ap) (Entered:
                                12/18/2023)
              12/15/2023    115 EXHIBIT 3−NOTE FROM JURY as to Chinwendu Alisigwe. (ap) (Entered:
                                12/18/2023)
              12/15/2023    116 EXHIBIT 4−NOTE FROM JURY. as to Chinwendu Alisigwe. (ap) (Entered:
                                12/18/2023)
              12/22/2023    117 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Conference held on
                                12/7/2023 before Judge Valerie E. Caproni. Court Reporter/Transcriber: Pamela Utter,
                                (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                Restriction. After that date it may be obtained through PACER. Redaction Request due
                                1/12/2024. Redacted Transcript Deadline set for 1/22/2024. Release of Transcript
                                Restriction set for 3/21/2024. (McGuirk, Kelly) (Entered: 12/22/2023)
              12/22/2023    118 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                                Notice is hereby given that an official transcript of a Conference proceeding held on
                                12/7/2023 has been filed by the court reporter/transcriber in the above−captioned
                                matter. The parties have seven (7) calendar days to file with the court a Notice of
                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 12/22/2023)
              12/26/2023    119 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Trial held on 12/11/2023
                                before Judge Valerie E. Caproni. Court Reporter/Transcriber: Tracy Groth, (212)
                                805−0320, Transcript may be viewed at the court public terminal or purchased through
                                the Court Reporter/Transcriber before the deadline for Release of Transcript
                                Restriction. After that date it may be obtained through PACER. Redaction Request due
                                1/16/2024. Redacted Transcript Deadline set for 1/26/2024. Release of Transcript
                                Restriction set for 3/25/2024. (McGuirk, Kelly) (Entered: 12/26/2023)
              12/26/2023    120 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                                Notice is hereby given that an official transcript of a Trial proceeding held on
                                12/11/2023 has been filed by the court reporter/transcriber in the above−captioned
                                matter. The parties have seven (7) calendar days to file with the court a Notice of
                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 12/26/2023)
(19 of 20), Page 19 of 20     Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 19 of 20

              12/26/2023    121 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Trial held on 12/12/2023
                                before Judge Valerie E. Caproni. Court Reporter/Transcriber: Pamela Utter, (212)
                                805−0300, Transcript may be viewed at the court public terminal or purchased through
                                the Court Reporter/Transcriber before the deadline for Release of Transcript
                                Restriction. After that date it may be obtained through PACER. Redaction Request due
                                1/16/2024. Redacted Transcript Deadline set for 1/26/2024. Release of Transcript
                                Restriction set for 3/25/2024. (McGuirk, Kelly) (Entered: 12/26/2023)
              12/26/2023    122 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                                Notice is hereby given that an official transcript of a Trial proceeding held on
                                12/12/2023 has been filed by the court reporter/transcriber in the above−captioned
                                matter. The parties have seven (7) calendar days to file with the court a Notice of
                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 12/26/2023)
              12/26/2023    123 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Trial held on 12/13/2023
                                before Judge Valerie E. Caproni. Court Reporter/Transcriber: Tracy Groth, (212)
                                805−0320, Transcript may be viewed at the court public terminal or purchased through
                                the Court Reporter/Transcriber before the deadline for Release of Transcript
                                Restriction. After that date it may be obtained through PACER. Redaction Request due
                                1/16/2024. Redacted Transcript Deadline set for 1/26/2024. Release of Transcript
                                Restriction set for 3/25/2024. (McGuirk, Kelly) (Entered: 12/26/2023)
              12/26/2023    124 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                                Notice is hereby given that an official transcript of a Trial proceeding held on
                                12/13/2023 has been filed by the court reporter/transcriber in the above−captioned
                                matter. The parties have seven (7) calendar days to file with the court a Notice of
                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 12/26/2023)
              12/26/2023    125 TRANSCRIPT of Proceedings as to Chinwendu Alisigwe re: Trial held on 12/14/2023
                                before Judge Valerie E. Caproni. Court Reporter/Transcriber: Pamela Utter, (212)
                                805−0300, Transcript may be viewed at the court public terminal or purchased through
                                the Court Reporter/Transcriber before the deadline for Release of Transcript
                                Restriction. After that date it may be obtained through PACER. Redaction Request due
                                1/16/2024. Redacted Transcript Deadline set for 1/26/2024. Release of Transcript
                                Restriction set for 3/25/2024. (McGuirk, Kelly) (Entered: 12/26/2023)
              12/26/2023    126 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Chinwendu Alisigwe.
                                Notice is hereby given that an official transcript of a Trial proceeding held on
                                12/14/2023 has been filed by the court reporter/transcriber in the above−captioned
                                matter. The parties have seven (7) calendar days to file with the court a Notice of
                                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                                may be made remotely electronically available to the public without redaction after 90
                                calendar days.... (McGuirk, Kelly) (Entered: 12/26/2023)
              03/25/2024    129 SENTENCING SUBMISSION by Chinwendu Alisigwe. (Werner, Ariel) (Entered:
                                03/25/2024)
              03/25/2024    130 SENTENCING SUBMISSION by USA as to Chinwendu Alisigwe. (Attachments: # 1
                                Exhibit Victim Impact Statement)(Foster, Meredith) (Entered: 03/25/2024)
              04/01/2024    131 LETTER by USA as to Chinwendu Alisigwe addressed to Judge Valerie E. Caproni
                                from AUSAs Meredith Foster & William Kinder dated April 1, 2024 re: Loss
                                calculation Document filed by USA. (Kinder, William) (Entered: 04/01/2024)
              04/05/2024    132 SENTENCING SUBMISSION by Chinwendu Alisigwe. (Werner, Ariel) (Entered:
                                04/05/2024)
              04/05/2024    133 ORDER as to Chinwendu Alisigwe: IT IS HEREBY ORDERED that, by no later than
                                6:00 P.M. on Sunday, April 7, 2024, the Government must file a letter stating whether
                                Wheelchairs 4 Kids and Prince George's County experienced actual loss from the
                                scheme. If they did, the letter must provide the evidence at trial establishing the actual
                                loss amount. IT IS FURTHER ORDERED that in the same letter the Government
                                must inform the Court which victims (and at what amount each) comprise the
                                $499,949.88 in requested restitution. (Signed by Judge Valerie E. Caproni on
(20 of 20), Page 20 of 20     Case: 24-960, 04/12/2024, DktEntry: 1.1, Page 20 of 20

                                  4/5/2024) (ap) (Entered: 04/05/2024)
              04/07/2024    134 Sentencing Letter by USA as to Chinwendu Alisigwe re: April 5, 2024 Order.
                                (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B)(Foster, Meredith)
                                (Entered: 04/07/2024)
              04/08/2024    135 Sentencing Letter by USA as to Chinwendu Alisigwe re: Proposed Restitution Order.
                                (Attachments: # 1 Proposed Order Proposed Restitution Order)(Foster, Meredith)
                                (Entered: 04/08/2024)
              04/08/2024          Minute Entry for proceedings held before Judge Valerie E. Caproni: Sentencing held
                                  on 4/8/2024 for Chinwendu Alisigwe (1) Count 1s,2s,3s,4s. Defendant Chinwendu
                                  Alisigwe present with attorneys Ariel Werner and Sylvie Levine. AUSA's Meredith
                                  Foster and Adam Hobson present. Defendant sentenced. Remand continued. (see
                                  Judgment) (Court Reporter Lisa Franko) (ap) (Entered: 04/09/2024)
              04/09/2024    136 PRELIMINARY ORDER OF FORFEITURE/MONEY JUDGMENT as to (S1
                                22−Cr−425) Chinwendu Alisigwe. SO ORDERED: (Signed by Judge Valerie E.
                                Caproni on 4/8/2024) [*** NOTE: See this Order as set forth. ***] (bw) (Entered:
                                04/09/2024)
              04/09/2024    137 ORDER OF RESTITUTION as to (S1 22−Cr−425) Chinwendu Alisigwe. SO
                                ORDERED: (Signed by Judge Valerie E. Caproni on 4/9/2024) [*** NOTE: See this
                                Order as set forth. ***]. (bw) (Entered: 04/09/2024)
              04/09/2024          DISMISSAL OF COUNTS on Government Motion as to Chinwendu Alisigwe (1)
                                  Count 1,2,3. (bw) (Entered: 04/09/2024)
              04/09/2024    138 JUDGMENT In A Criminal Case (S1 22−Cr−425−01). Date of Imposition of
                                Judgment: 4/8/2024. Defendant Chinwendu Alisigwe (1) was found guilty on Count(s)
                                1s, 2s, 4s, after a plea of not guilty. Count(s) open and underlying are dismissed on the
                                motion of the United States. IMPRISONMENT: Five (5) years on Counts 1, 2, and 4
                                to be served concurrently. − The court makes the following recommendations to the
                                Bureau of Prisons: The Court recommends the defendant be designated in a facility
                                close to New York City Metropolitan Area to facilitate visits. SUPERVISED
                                RELEASE: Five(5) years on Counts 1 and 2, Three(3) years on Count 4 to be served
                                concurrently. Standard Conditions of Supervision (See page 4 of Judgment). Special
                                Conditions of Supervision (See page 5 of Judgment). ASSESSMENT: $300.00, due
                                immediately. RESTITUTION: $499,949.88. − Special instructions regarding the
                                payment of criminal monetary penalties: Defendant must pay at least 10% of his
                                monthly gross income towards his financial obligations after release. While in custody
                                he must make payments in accordance with BOP's Inmate Financial Responsibility
                                Program. − The defendant shall forfeit the defendant's interest in the following
                                property to the United States: $4,463,475.80. (Signed by Judge Valerie E. Caproni on
                                4/9/2024) (bw) (Entered: 04/09/2024)
              04/11/2024    139 NOTICE OF APPEAL by Chinwendu Alisigwe from 138 Judgment. (nd) (Entered:
                                04/11/2024)
              04/11/2024          Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to
                                  Chinwendu Alisigwe to US Court of Appeals re: 139 Notice of Appeal.(nd) (Entered:
                                  04/11/2024)
              04/11/2024          Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                  Electronic Files as to Chinwendu Alisigwe re: 139 Notice of Appeal were transmitted
                                  to the U.S. Court of Appeals. (nd) (Entered: 04/11/2024)
